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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
TAYLOR J. GAIOLA : CIVIL ACTION NO:
V.
JOHN R. SADDLEMIRE : APRIL 26, 2012
VERIFIED COMPLAINT

 

This is an action brought pursuant to the Civil Rights Act of 1866 for injunctive
and declaratory relief against a state university official. Plaintiff Taylor J. Caiola, by his
undersigned attorney, brings this action against John R. Saddiemire, in both his
individual capacity and in his official capacity as Vice President for Student Affairs, at
the University of Connecticut. Specifically, the plaintiff seeks relief against said
defendant State university official for violations of his due process rights pursuant to the
Fourteenth Amendment of the United States Constitution, including: 1) the arbitrary and
capricious manner in which a student disciplinary hearing was conducted, because the
decision to expel Caiola was not based upon substantial evidence; and 2) the
application of provisions of the Student Code that justified plaintiff's expulsion were void
for vagueness as applied to the facts of this case, in that: a) said provisions failed to put

him on notice that the alleged conduct placed him in violation of the Student Code; and

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b) Caiola’s conduct, as alleged by the Complainant, did not fall with sufficient clarity
within the ambit of the relevant Student Code provisions.
I. Jurisdiction and venue

1. This action is brought pursuant to Title 42 United States Code Sections
1983 and 1988, and the fourteenth amendment to the United States Constitution. The
claims in this Complaint seek to redress the Defendant’s deprivation and violation,
under color of state law, of the rights, privileges, and immunities secured for Plaintiff
under the aforementioned amendments to the U.S. Constitution.

2. Venue is proper in the District of Connecticut pursuant to 28 U.S.C.
§1391.

3. Jurisdiction is founded upon 28 U.S.C. U.S.C. §§ 1331 and 1342, and 42
U.S.C. §1983 and the aforementioned constitutional provisions.
ll. Parties

4. The Plaintiff, Taylor J. Caiola (hereinafter “Plaintiff’), has at all relevant
times been a citizen of the United States and a resident of Bolton, Connecticut, and
was, until his expulsion on or about February 29, 2012, an undergraduate student at the
University of Connecticut. Said expulsion occurred in the final semester of his senior

year.

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5. The Defendant John R. Saddiemire (hereinafter “Defendant’) was at all
relevant times the Vice President for Student Affairs at the University of Connecticut
(hereinafter “the University”), a State-owned and operated institution of higher education
located in Storrs, Connecticut. Defendant was the final decision maker in the
disciplinary process that resulted in Plaintiff's expulsion, and as a representative of the
University charged with enforcing its disciplinary code, he is sued in both his individual
and personal capacity.

Hl. Factual allegations

6. On or about January 30, 2012, Plaintiff received formal notice, in the form
of a letter, signed by Cinnamon Adams (“Adams”), Assistant Director of Community
Standards at the University, informing him that he was the subject of a complaint lodged
with the University. The Complainant (hereinafter “Complainant’), a female student,
alleged that on or about October 15, 2010, more than 15 months previously, Plaintiff
had sexually assaulted her. On information and belief, the Complainant had elected to |
report the alleged conduct to the University for the first time a few days previously, on or

about January 27, 2012."

 

"Yn order to protect the anonymity and privacy of the individual who alleged that Caiola had raped her, she shall be
known only as “The Complainant” in any pleadings filed by Plaintiff.

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7. On or about February 22, 2012, Plaintiff received notice from Adams that
the Complainant's allegation was to be the subject of an administrative hearing, to be
held on or about February 29, 2012.

8. Said Notice informed him that the provisions of Part Ill B of the
University’s Student Code that he was alleged to have violated were as follows:

2011.4 Sexual Misconduct: Sexual misconduct which includes, but is
not limited to, the true threat of or actual sexual assault,
unwelcome sexual contact, and/or sexual harassment.

2011.5 Endangering Behavior: Endangering Behavior which includes,
but is not limited to, conduct that threatens or endangers the
health or safety of any person including oneself.

9. Said Notice had enclosed an “Incident Report” based upon witness
statemenis, including the Complainant's, authored by Adams, that formed the basis of
the charged violations of the Student Code.

10. The Incident Report recounted how Adams had met with the Complainant
on or about January 27, 2010, and Complainant alleged the following as narrated
therein:

a. That two weeks prior to the alleged rape, in early October, 2010,

Complainant had engaged in consensual sexual activity with Plaintiff at his

apartment, including oral sex that she performed upon him; and that at

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that time, she informed him she did not plan on having intercourse with
him;

b, That on October 15, 2010, Complainant was at a party off campus
with some friends, and received a call from Plaintiff asking her to come to
his apartment, and that she declined because she was at the party. A
short while later, Plaintiff called her again, saying he was outside the
party, parked in a car with several mutual male friends. Complainant left
the party, joined Plaintiff in his car, and went back to his apartment;

Cc. That once at Plaintiff's apartment, and in his bedroom, Complainant
and Plaintiff undressed and engaged in consensual sexual activity,
including oral sex, which he performed on her, and digital penetration, as
well as kissing.

d. That Plaintiff announced his desire to have sexual intercourse with
Complainant, and attempted, as they were both naked on his bed, to
initiate intercourse, but Complainant announced that she did not want to
have sex with him;

e. That when Complainant ceased to hear the noise of the other

individuals in the house and ail had gone quiet downstairs, she asked

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about her ride back to the party, then Plaintiff replied that she was going to
stay for the night, and his roommates would give her a ride home in the
morning; at this point Complainant realized she was across campus from
her residence, lacked her coat and house keys and therefore had to stay
the night. After the fact, she alleged that this pattern of reasoning
indicated the influence of alcohol upon her;

f. That when Plaintiff kept attempting to persuade Complainant to
have sexual intercourse, including at one point refusing to get her a
requested glass of water unless she did engaged in oral sex, she
explained her reasons for refusal, including: 1) she did not want to; 2) she
had only had one sexual partner before, and that was a boyfriend; 3) that
she did not know Plaintiff well; and 4) that he did not have a condom on.
Plaintiff put a condom on at that point; |

g. That Plaintiff persisted in his entreaties for sex, and that
Complainant was tired and only wanted to go to sleep;

h. That Plaintiff gave her the options of fellating him until she
swailowed, or having him “cum on her face,” or having intercourse.

Complainant reasoned that intercourse “was easier” because “she would

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not need to be actively involved.” Complainant alleged that at that point
she “gave in” to having intercourse with Plaintiff, and then fell asleep in his
bed.

i. Complainant never alleged that Plaintiff barred her from leaving the
room. She never alleged that Plaintiff employed physical force or
threatened physical force. She never alleged that her response to
Plaintiff's final entreaty to have sex with her contained an express or
implied refusal. She did not allege that she was so incapacitated by
alcohol that she was either insensible or incapacitated with respect to her
understanding of every statement directed at her by Plaintiff, and her

responses thereto, which she recalled with great precision 15 months after

 

 

the fact. She never alleged that she did not have the means to get home

had she wanted to leave, despite not having a car, given the fact that she

 

never asked any of the other persons in the house at that time for a ride,
or called any of her own roommates, or called upon one of several
services provided by the University to ferry female students home at night
from off campus. Most importantly, the Complainant did not allege that

Plaintiff engaged in sexual intercourse with her without her consent, in any

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such manner that he would have understood that consent was being
withheld or denied or otherwise not granted. As alleged in the incident
report, Complainant only alleged that Plaintiff was repetitively insistent on
having some sort of sexual contact with her, of which intercourse was only
one proposed variant, and that she “gave in” to having intercourse without
any demonstration of hesitancy, fear, unwillingness to participate, or
refusal. |

11. The Administrative hearing occurred on or about February 29, 2012. The
hearing officers were Jim Hintz (“Hintz”) and Alisa Geller (“Geller”), both of whom were
at all relevant times, upon information and belief, University administrators and/or
employees.

42. At the opening of the hearing, Adams, identifying herself as “the charging
party,” presented the charged conduct as “nonconsensual sexual intercourse based on
unreasonable pressure or what would be called coercion.”

13. | Adams then proceeded to set forth for the hearing officers and the parties
the facts in the record thus far agreed-upon and disagreed upon by Complainant and
Plaintiff regarding the incident in question. Adams asserted that Complainant, by her

own account, was making decisions during the sexual encounter, and was able to

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recount the details some time later, such that “incapacitation” by reason of alcoho! was
not a factor in the night's events. While Complainant would subsequently testify that
she was drinking that night, and that her judgment may have been impaired, she never
disputed Adams’ characterization with respect to the absence of incapacitation.

14. Adams also asserted in her preliminary statement of facts and the parties’
positions, that Complainant, by her own account, ultimately said “yes” to Plaintiff to have
intercourse, but because she had previously said “no” and/or by her actions avoided
having sexual intercourse over a period of time, by Complainant's account, Plaintiff “put
unreasonable pressure on her to have intercourse, which is defined as coercion.”

15. During her hearing testimony, upon questioning by Hintz, Complainant
agreed that she gave consent, by affirmative words or conduct, to Plaintiff's initiation of
intercourse, albeit only after multiple refusals. She further testified that she could not
recall what her consent consisted of; this was the only significant detail of the events of
that evening that she claimed she could not remember.

16. Complainant's testimony generally matched in its particulars matched the
prior statement that she gave to Adams, which Adams then incorporated into the
Incident Report. Plaintiff's statement of events and testimony were completely at odds

with Complainant. Plaintiff had several witnesses testify on his behalf, individuals who

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were present in the house the night of the alleged rape; all of them testified that the
Complainant did not appear to be intoxicated and that she walked up the stairs to
Plaintiffs bedroom, rather than being carried as alleged, and that her demeanor the
next morning did not suggest someone who had been through a traumatic experience.
Plaintiff testified that by her affirmative conduct, specifically reciprocation of his initiation
of intercourse and mutuality of the act, Complainant gave her consent to such
intercourse.

17. |The Complainant's witnesses and supporting documentation consisted of
testimony repeating what Complainant had told said witnesses of the night’s events,
and unlike Plaintiff's witnesses, none of Complainant’s witnesses were present at the
house that was the site of the charged conduct. The Complainant also responded to
the testimony of Plaintiff's witnesses by claiming, after said witnesses had left the
hearing room, they were speaking of a different, prior night than the one at issue, and
therefore their testimony was mistaken. Faced with this evident discrepancy, the
hearing officers did not then recall Plaintiffs witnesses and question them to clanfy
Complainant's allegation that Plaintiff's witnesses were conflating two different nights.
Testimony from Complainant and one of her witnesses to the effect that she was

intoxicated was inconclusive, and did not contradict Adams’ assertion that Complainant

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was not incapacitated by alcohol. The evidence presented was, in other words, of the
“he said, she said” variety.

18. After deliberating for an hour and a half, the hearing officers, based upon
a preponderance of the evidence standard, concluded that Plaintiff was in fact
responsible for violations of the Student Code, including Sexual Misconduct and
Endangering Behavior. The hearing officers found that Plaintiff “put unreasonable
pressure on the complainant which prevented her from giving informed, free and active
consent.”

19. In a letter memorializing the hearing officers’ determination dated March 1,
2012, authored by Geller, Plaintiff was informed that the hearing officers had concluded,
“based on information presented...at the hearing, including prior conversations about
sexual boundaries, circumstances that put the complainant in a vulnerable situation,
and the credibility of the complainant supported by documentation of the night's events,
we believe you put unreasonable pressure on the complainant which prevented her
from giving informed, free, and active consent for sexual intercourse.” There was no
corroborating documentation of the night’s events that did not originate with

Complainant, and her credibility should have been brought into question by the single

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detail of the evening that she could not recall — the manner in which she gave her
admitted consent to Plaintiff.

20.  Geller’s letter finally informed Plaintiff that he was expelled, effective
immediately.

21. Plaintiff appealed, and the appeal was denied by Defendant on or about
March 16, 2012, thereby exhausting Plaintiff's administrative remedies.

22. Plaintiff was forced to leave campus after having earned 111 of the 120
credits needed to graduate, having been accepted into a Master’s Degree program at
Northeastern University, an acceptance predicated upon his successful matriculation
from the University.

IV COUNT ONE (violation of the due process clause of the Fourteenth
Amendment to the United States Constitution)

1-22. The allegations contained in Paragraphs 1-22 are hereby incorporated by
reference into this Count One as if set forth herein.

23. The charged misconduct Plaintiff was found by the hearing officers to
have violated were “sexual misconduct” and “endangering behavior,” neither of which
mention “unreasonable pressure” as a form of “coercion” that can deprive a
Complainant in a sexual assault case of the ability to give meaningful consent to sexual

intercourse. It is undisputed that Complainant consented in fact, at some point, to

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Plaintiff's initiation of intercourse; therefore Plaintiffs charged misconduct was the
alleged application of “unreasonable pressure.”

24. The “Definitions” section to Part II of the University’s Student Code defines
consent as “an understandable exchange of affirmative words or actions, which indicate
a willingness to participate in sexual activity. Consent must be informed, freely and
actively given. It is the responsibility of the initiator to obtain clear and affirmative
responses at each stage of sexual involvement. The lack of a negative response is not
consent. Past consent of sexual activity does not imply ongoing future consent.”

25. The definition of coercive sexual misconduct as “unreasonable pressure,”
the basis for the hearing officers’ finding that Plaintiff had injured Complainant as well as
the charged conduct announced by Adams at the commencement of the disciplinary
hearing, appears nowhere in the Student Code; nor did any mention of a charge of
“unreasonable pressure” appear in any of the documents provided to Plaintiff prior to
the hearing. Having received consent from Plaintiff for sexual intercourse, an
undisputed finding of the hearing officers and Adams, the charging party, Plaintiff was
provided with no notice that he was in violation of any rule or regulation of the University

such that he faced the ultimate sanction of expulsion.

 

* The Student Code may be found on the University web site at
htto:/Awww.community.uconn.edu/docs/1112 The Student Code.pdf; last checked 4/26/2012 at 11:21

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26.

The Defendant, in denying Plaintiff's appeal of the hearing officers’

findings and sanction, violated Plaintiffs due process rights in the following ways:

2f.

a. The evidence presented at the hearing did not constitute
substantial evidence to sustain the hearing officer’s findings. No evidence
was presented that independently corroborated the Complainant's version
of events, with respect to Plaintiff's alleged application of unreasonable
pressure as coercion such that consent was vitiated, while evidence was
presented that contradicted Complainant's version of events.

b. The violations of the Student Code cited by the hearing
officers in their decision, as applied, are unconstitutionally vague, in that
they failed to provide reasonable notice to Plaintiff that his conduct, even
as alleged by Complainant, placed him in violation of the Student Code.

C. The violations of the Student Code cited by the hearing
officers in their decision, as applied, are unconstitutionally vague, in that
Plaintiff's conduct, as alleged by the Complainant, did not fall with
sufficient clarity within the ambit of the Student Code provisions.

d. in light of the absence of substantial evidence that Plaintiff
had violated the relevant provisions of the Student Code, and in light of
the impermissible vagueness of those provisions, as applied to Plaintiffs
alleged conduct, the hearing officers’ decision to expel Plaintiff was
arbitrary and capricious.

As a result of the aforementioned violations of Plaintiff's due process

rights, Plaintiff has suffered damages including loss of tuition, loss of educational

opportunities, and the social and academic stigma of expulsion, and has been deprived

of the right to receive academic credit for approved courses. Further, his acceptance to

a graduate program has been placed into doubt, and the permanent record of expulsion

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on his transcript will affect any subsequent academic application for graduate degrees
adversely, as well as serve as an obstacle to employment in his chosen field, as an

educator. Plaintiff has been irreparably harmed by this wrongful expulsion.

 

 

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WHEREFORE, Plaintiff prays that this Court:

1. Award attorney’s-fees pursuant to 42 U.S.C. §1988;

2. Award costs according to Rule 54(d) of the Federal Rules of Civil
Procedure;

3. Enter a preliminary injunction pursuant to Rule 65 of the Federal Rules of
Civil Procedure, that: 1) enjoins the Defendant from enforcing any disciplinary action
imposed on Plaintiff as a result of any proceedings that occurred on February 29, 2012,
as provisions of Part IIiB of the University’s Student Code were improperly applied
against Plaintiff, and/or violated Plaintiff's right to due process of law, and 2) compels
the Defendant to reinstate Plaintiff so that he may complete his degree requirements
and graduate from the University this May.

4. Issue a declaratory ruling, pursuant to Rule 57 of the Federal Rules of
Civil Procedure and 28 U.S.C §2201, that the provision of the University’s Student Code
Part IIIB, is unconstitutionally void for vagueness as applied to Plaintiff's conduct under
the Fourteenth Amendment of the Constitution of the United States, because Plaintiff
was not put on notice that his conduct, even as alleged by the Complainant, violated the

relevant provisions of the Student Code, and that said conduct, even as alleged by

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Complainant, did not fall with sufficient clarity within the ambit of the Student Code
provisions.

PLAINTIFF, TAYLOR J. CAIOLA

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